    Case 3:18-cv-00347-CAB-MDD Document 409 Filed 03/11/22 PageID.34960 Page 1 of 9

                             MINUTES OF THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF CALIFORNIA

                                                   VS
             Nuvasive, Inc.                                             Alphatec Holdings, Inc.
Case Number:      18cv0347-CAB-MDD              EXHIBIT LIST                        Jury Trial


☒     Plaintiff    ☐          Defendant   ☐     Court

    No.           Date I.D.       Date Rec’vd                            Description
PDX-1.1-          3/1/2022                        Plaintiff NuVasive’s Opening Statement Demonstratives
PDX-1.87
PDX-2.1-          3/1/2022                           Plaintiff witness, Kyle Malone Direct Examination
PDX-2.5                                                                 Demonstratives
PDX-3.1-          3/2/2022                         Plaintiff witness, Paul McClintock Direct Examination
PDX-3.4                                                                 Demonstratives
PDX-4.1-          3/2/2022                          Plaintiff Expert, Dr. Jim Youssef Direct Examination
PDX-4.99                                                                Demonstratives
PDX-5.1-          3/4/2022                           Plaintiff Expert, Blake Inglish Direct Examination
PDX-5.55                                                                Demonstratives
 PDX-10           3/3/2022                                   Physical Demonstrative: Small Spine
 PDX-11           3/3/2022                                     Physical Demonstrative: Vertebrae
 PDX-12           3/3/2022                                Physical Demonstrative: Implant Inserter
 PDX-13           3/1/2022                       Physical Demonstrative: “eXtreme Lateral Interbody Fusion
                                                                (XLIF)” (2008), bound book
 PDX-14           3/1/2022                       Physical Demonstrative: “eXtreme Lateral Interbody Fusion
                                                            (XLIF)” 2nd Ed. (2013), bound book
 PDX-15           3/3/2022                              Physical Demonstrative: Second Small Spine
 PDX-16           3/2/2022                        Demonstrative – Enlarged Cover Page of PTX-2763 with
                                                               Annotations by Kyle Malone
 PDX-17           3/7/2022                       Demonstrative – Video Slide of Alphatec Retractor Pivoting
 PDX-18           3/7/2022                      Demonstrative – Handheld Board Depicting NuVasive’s XLIF
                                                                         System
 PDX-19           3/7/2022                        Demonstrative – Handheld Board Depicting Alphatec’s
                                                                    Retractor System
PTX-3000          3/2/2022                           Annotated Image of PTX-2763 (Demonstrative)




                                                 Page 1 of 9
    Case 3:18-cv-00347-CAB-MDD Document 409 Filed 03/11/22 PageID.34961 Page 2 of 9

                            MINUTES OF THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA

                                                VS
            Nuvasive, Inc.                                          Alphatec Holdings, Inc.
Case Number:     18cv0347-CAB-MDD            EXHIBIT LIST                       Jury Trial


☒    Plaintiff    ☐         Defendant   ☐    Court

 PTX-1           3/3/2022         3/3/2022                 U.S. Patent No. 8,439,832, entitled
                                                    “Surgical Access System and Related Methods”
                                                         by Patrick Miles et al., dated 5/14/2013
 PTX-2           3/3/2022         3/3/2022                 U.S. Patent No. 7,819,801, entitled
                                                    “Surgical Access System and Related Methods”
                                                        by Patrick Miles et al., dated 10/26/2010
 PTX-3           3/3/2022         3/3/2022                 U.S. Patent No. 9,974,531, entitled
                                                    “Surgical Access System and Related Methods”
                                                         by Patrick Miles et al., dated 5/22/2018
 PTX-4           3/9/2022         3/9/2022      File History for U.S. Patent No. 8,439,832 (12/984,368)
                                                entitled “Surgical Access System and Related Methods”
                                                            by Miles et al., dated 01/04/2011


 PTX-29          3/7/2022         3/7/2022        Alphatec Spine’s Traditional 510(k) Application –
                                              Expanded Indications for Use, Alphatec Battalion Universal
                                              Spacer System to U.S. Food and Drug Administration, dated
                                                                       4/4/2016


 PTX-36          3/8/2022         3/8/2022   Alphatec Press Release: Alphatec Holdings, Inc. Reports Third
                                                   Quarter 2017 Financial Results, dated 11/9/2017


 PTX-59          3/2/2022         3/2/2022   NuVasive’s Brochure: XLIF Surgical Technique Guide, dated
                                                                      2007


 PTX-77          3/3/2022         3/3/2022     Alphatec Spine Arc Portal Access System GLIF (Guided
                                                Lumbar Interbody Fusion) Surgical Technique Guide,
                                                                    dated 2010


PTX-136          3/3/2022         3/3/2022    NuVasive Consulting Agreement Memo to Jason Hannon re
                                              SSAB Consulting Agreement for Dr. Jim Youssef/Durango
                                                             Spine, LLLP, dated 3/27/2017
PTX-137          3/3/2022         3/3/2022    NuVasive Consulting Agreement Memo to Matt Link re SPS
                                                (Global) Consulting Agreement for Jim Youssef, M.D.
                                               (contracting as Durango Spine, LLLP), dated 10/26/2017


                                               Page 2 of 9
    Case 3:18-cv-00347-CAB-MDD Document 409 Filed 03/11/22 PageID.34962 Page 3 of 9

                            MINUTES OF THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA

                                                  VS
            Nuvasive, Inc.                                             Alphatec Holdings, Inc.
Case Number:     18cv0347-CAB-MDD              EXHIBIT LIST                        Jury Trial


☒    Plaintiff     ☐         Defendant   ☐     Court

PTX-167          3/9/2022          3/9/2022     Declaration of Patrick Miles in Medtronic, Inc. v. NuVasive,
                                                   Inc., IPR2014-00081 re ‘535 Patent, dated 7/8/2014


PTX-170          3/3/2022          3/3/2022      Ivan Cheng et al., Outcomes of Two Different Techniques
                                                    Using the Lateral Approach for Lumbar Interbody
                                                   Arthrodesis, Global Spine Journal, 5:308-314 (2015)


PTX-179          3/10/2022         3/10/2022     Non-final Action Closing Prosecution in Re-examination
                                                 Control No. 95/001,889 re ‘801 Patent, dated 8/27/2012


PTX-184          3/3/2022          3/3/2022      Takatomo Moro et al., An Anatomic Study of the Lumbar
                                                Plexus with Respect to Retroperitoneal Endoscopic Surgery,
                                                              SPINE, 28(5):423-428 (2003)


PTX-199          3/2/2022          3/2/2022      Gregory M. Malham et al., Clinical Outcome and Fusion
                                                Rates After the First 30 Extreme Lateral Interbody Fusions,
                                                     The Scientific World Journal, Article ID 246989
                                                                (L. Pimenta et al., eds. 2012)


PTX-288          3/9/2022                                       Video of Alphatec Retractor


PTX-298          3/3/2022          3/3/2022         Juan Uribe et al., Can Triggered Electromyography
                                                 Monitoring throughout Retraction Predict Postoperative
                                                  Symptomatic Neuroproxia After XLIF? Results from a
                                                  Prospective Multicenter Trial, European Spine Journal,
                                                              24 (Suppl. 3):5378-5385 (2015)
PTX-299          3/9/2022          3/9/2022     Declaration of Dr. Frank Phillips, M.D. in Medtronic, Inc. v.
                                                      NuVasive, Inc., IPR2014-00075 re ‘767 Patent,
                                                                       dated 7/8/2014
PTX-300          3/8/2022                       Declaration of Barton L. Sachs in NuVasive, Inc. v. Warsaw
                                                     Orthopedic, Inc., IPR2013-00206 re ‘997 Patent,
                                                                      dated 12/20/2013



                                                Page 3 of 9
    Case 3:18-cv-00347-CAB-MDD Document 409 Filed 03/11/22 PageID.34963 Page 4 of 9

                            MINUTES OF THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA

                                               VS
            Nuvasive, Inc.                                           Alphatec Holdings, Inc.
Case Number:     18cv0347-CAB-MDD            EXHIBIT LIST                        Jury Trial


☒    Plaintiff    ☐         Defendant   ☐    Court

PTX-325          3/4/2022         3/4/2022      Declaration of Kelli Howell in Support of Defendants’
                                              Opposition to Plaintiff’s Motion for Preliminary Injunction,
                                                                    dated 5/17/2018


PTX-342          3/7/2022         3/7/2022   Alphatec’s Design Review re Product Battalion LLIF (Lateral
                                                     Lumbar Interbody Fusion) Retractor System
                                                         by T. Hackathorn, dated 8/21/2017
PTX-344          3/7/2022         3/7/2022    Alphatec Slides: Direct Lateral, Lateral Retractor Systems
                                              Concepts & Key Features by J. Costabile, dated 2/12/2013


PTX-423          3/7/2022         3/7/2022      Alphatec Slides: Direct Lateral, NPD, Phase 1 (Project
                                                   Initiation), by Derek Kuyper and Jon Costabile,
                                                                    dated 4/18/2013


PTX-428          3/3/2022         3/3/2022              Physical Exhibit: MaXcess Products –
                                                                MaXcess Light Cable


PTX-430          3/2/2022         3/2/2022              Physical Exhibit: MaXcess Products –
                                                     MaXcess IV Retractor (articulating version)
PTX-431          3/3/2022         3/3/2022              Physical Exhibit: MaXcess Products –
                                                               MaXcess 4 Fourth Blade
PTX-432          3/2/2022         3/2/2022              Physical Exhibit: MaXcess Products –
                                                                  MaXcess 4 Shim
PTX-433          3/3/2022         3/3/2022     Physical Exhibit: MaXcess Products – MaXcess 4 Screw
                                                Driver for removal/replacement of right and left blades
PTX-434          3/2/2022         3/2/2022          Physical Exhibit: MaXcess Products – K-Wire
PTX-435          3/2/2022         3/2/2022     Physical Exhibit: MaXcess Products – Sequential Dilator
                                                              (6 mm, 9 mm and 12 mm)
PTX-436          3/3/2022         3/3/2022       Physical Exhibit: MaXcess Products – MaXcess III
PTX-437          3/3/2022         3/3/2022     Physical Exhibit: MaXcess Products – MaXcess III, Solid
PTX-438          3/3/2022         3/3/2022    Physical Exhibit: MaXcess Products – MaXcess II Retractor
PTX-439          3/3/2022         3/3/2022    Physical Exhibit: MaXcess Products – MaXcess I Retractor


                                              Page 4 of 9
    Case 3:18-cv-00347-CAB-MDD Document 409 Filed 03/11/22 PageID.34964 Page 5 of 9

                            MINUTES OF THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA

                                                VS
            Nuvasive, Inc.                                          Alphatec Holdings, Inc.
Case Number:     18cv0347-CAB-MDD            EXHIBIT LIST                       Jury Trial


☒    Plaintiff    ☐         Defendant   ☐    Court

PTX-441          3/2/2022         3/2/2022           Physical Exhibit: Zero-Profile Shim Inserter


PTX-454          3/2/2022         3/2/2022     6/1/2018 Howell Depo Ex. 5: eXtreme Lateral Interbody
                                                          Fusion (XLIF) – Second Edition


PTX-497          3/3/2022         3/3/2022      10/29/2019 Robinson Depo Ex. 8: Alphatec’s Battalion
                                               Lateral Lumbar Spacer System – Thoracolumbar Surgical
                                                          Technique Guide, dated 1/5/2017


PTX-499          3/4/2022         3/4/2022      10/29/2019 Robinson Depo Ex. 10: 4/17/2013 Alphatec
                                                  Market Need/Assessment Request (Direct Lateral)
                                                                 by Derek Kuyper


PTX-501          3/2/2022         3/2/2022       10/29/2019 Robinson Depo Ex. 12: 6/16/2014 Slides:
                                              Alphatec Lateral Lumbar Interbody Fusion System – Market
                                                               Need/Business Case PH:1


PTX-513          3/4/2022         3/4/2022   11/5/2019 Judd Depo Ex. 11:01/22/2016 Nonexclusive Patent
                                              License Agreement by and between Warsaw Orthopedic and
                                                                  Alphatec Spine


PTX-531          3/4/2022         3/4/2022    12/19/2019 Aleali Depo Ex. 6: Alphatec Integrated Project
                                                 Charter – Lateral Lumbar Interbody Fusion (LLIF),
                                                                   dated 7/14/2014


PTX-534          3/2/2022         3/2/2022   11/15/2019 Finley Depo Ex. 8: NuVasive’s MaXcess XLIF 90
                                                             Degree Surgical Technique


PTX-559          3/9/2022                    12/19/2019 Miles Depo Ex. 9: 7/8/2014 Declaration of Patrick
                                                           Miles in Medtronic v. NuVasive
                                                       (IPR2014-00075, U.S. Patent 8,016,767)



                                              Page 5 of 9
    Case 3:18-cv-00347-CAB-MDD Document 409 Filed 03/11/22 PageID.34965 Page 6 of 9

                            MINUTES OF THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA

                                                VS
            Nuvasive, Inc.                                            Alphatec Holdings, Inc.
Case Number:     18cv0347-CAB-MDD            EXHIBIT LIST                         Jury Trial


☒    Plaintiff    ☐         Defendant   ☐    Court

PTX-582          3/9/2022         3/9/2022     11/20/2013 Martinelli Ex. 14: NuVasive History of XLIF
                                                               2002, dated 2/27/2003


PTX-644          3/8/2022         3/8/2022        11/11/2019 Moazzaz Depo Ex. 2: 6/0/2013 Product
                                                      Development Agreement by and between
                                                         Alphatec Spine and Payam Moazzaz


PTX-650          3/8/2022         3/8/2022       11/11/2019 Moazzaz Depo Ex. 8: 7/17/2014 Slides:
                                                Alphatec LLIF: Global Development Project Meeting –
                                                                  Valencia, Spain



PTX-719          3/4/2022         3/4/2022     Alphatec Slides: A Leading Provider of Advanced Spinal
                                                            Fusion Platforms and Systems



PTX-933          3/7/2022         3/7/2022        Alphatec Video: Battalion Universal Spacer System
PTX-969          3/4/2022         3/4/2022     Spreadsheet: Sales Quantity for Implants (Product Type 3)


PTX-1071         3/9/2022                                  U.S. Patent No. 7,491,168 entitled
                                                “Surgical Retractor Systems and Illuminated Cannulae,”
                                                          by Raymond et al., dated 2/17/2009


PTX-1882         3/3/2022         3/3/2022               Physical Exhibit: ATEC Retractor - Shim
PTX-1883         3/3/2022         3/3/2022           Physical Exhibit: ATEC Retractor – Shim inserter
PTX-1884         3/3/2022         3/3/2022      Physical Exhibit: ATEC Retractor – Dilators and k-wire
PTX-1885         3/3/2022         3/3/2022           Physical Exhibit: ATEC Retractor – Screwdriver
PTX-1886         3/3/2022         3/3/2022             Physical Exhibit: ATEC Retractor – 4th blade



                                              Page 6 of 9
    Case 3:18-cv-00347-CAB-MDD Document 409 Filed 03/11/22 PageID.34966 Page 7 of 9

                            MINUTES OF THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA

                                                VS
            Nuvasive, Inc.                                           Alphatec Holdings, Inc.
Case Number:     18cv0347-CAB-MDD            EXHIBIT LIST                        Jury Trial


☒    Plaintiff    ☐         Defendant   ☐    Court

PTX-1887         3/3/2022         3/3/2022             Physical Exhibit: ATEC Retractor - Light
PTX-1888         3/3/2022         3/3/2022       Physical Exhibit: ATEC Retractor – Retractor blades
PTX-1889         3/3/2022         3/3/2022      Physical Exhibit: ATEC Retractors – Retractor Handle
PTX-1890         3/3/2022         3/3/2022      Physical Exhibit: ATEC Retractors – 4th blade crossbar


PTX-2171         3/2/2022         3/2/2022   Alphatec Transcend ™ LIF Lateral Interbody Spacer System
                                                          Implant Guide, dated 12/17/2019


PTX-2354         3/4/2022         3/4/2022     Spreadsheet: Alphatec Sales re Use LIF Case Category to
                                                          Filter between LIF Category 2017
PTX-2355         3/4/2022         3/4/2022     Spreadsheet: Alphatec Sales re Use LIF Case Category to
                                                          Filter between LIF Category 2019
PTX-2356         3/4/2022         3/4/2022     Spreadsheet: Alphatec Sales re Use LIF Case Category to
                                                          Filter between LIF Category 2019


PTX-2386         3/2/2022         3/2/2022   10/30/2020 Aleali Depo Ex. 7: Alphatec LIF Lateral Interbody
                                                 Fusion – Lateral Approach Surgical Technique Guide,
                                                                   dated 9/10/2019
PTX-2388         3/7/2022         3/7/2022      10/30/2022 Aleali Depo Ex. 9: Slides: Alphatec Lateral
                                                  Lumbar Interbody Fusion System, dated 12/29/2019
PTX-2397         3/4/2022         3/4/2022         10/30/2020 Judd Depo Ex. 2: First Amendment to
                                                Nonexclusive Patent License Agreement by and between
                                                  Alphatec and Warsaw Orthopedic, dated 1/01/2020


PTX-2535         3/2/2022         3/2/2022           NuVasive’s Brochure: NVM5® for XLIF, 2014


PTX-2763         3/2/2022         3/2/2022   NuVasive’s Brochure: XLIF Surgical Technique Guide, dated
                                                                         2014
PTX-2772         3/9/2022         3/9/2022   Exhibit 2002 Declaration of Patrick Miles in NuVasive, Inc. v.
                                               Warsaw Orthopedic, Inc., IPR2013-00206 re ‘997 Patent,
                                             dated 3/10/2014 in Alphatec Holdings, Inc, v. NuVasive, Inc.,
                                                           IPR2019-00362 re ‘156 Patent

                                              Page 7 of 9
    Case 3:18-cv-00347-CAB-MDD Document 409 Filed 03/11/22 PageID.34967 Page 8 of 9

                            MINUTES OF THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA

                                                VS
            Nuvasive, Inc.                                            Alphatec Holdings, Inc.
Case Number:     18cv0347-CAB-MDD            EXHIBIT LIST                          Jury Trial


☒    Plaintiff    ☐         Defendant   ☐    Court

PTX-2889         3/9/2022         3/9/2022        NuVasive Slide: NuVa Yesterday and NuVa Today
                                                                     by Pat Miles
PTX-2890         3/4/2022         3/4/2022     12/10/2021 Inglish Second Supplemental Expert Report –
                                                     Schedule 1, Summary of Estimated Damages
PTX-2899         3/4/2022         3/4/2022     12/10/2021 Inglish Second Supplemental Expert Report –
                                              Schedule 5, Analysis of NuVasive MAS Platform/XLIF and
                                              Alphatec LIF Platform: Implant Units by Surgeon-Customer



PTX-2914         3/4/2022         3/4/2022    12/10/2021 Inglish Second Supplemental Expert Report –
                                             Schedule 15, Analysis of NuVasive MAS Platform/XLIF and
                                                 Alphatec LIF Platform Revenue and Implant Units


PTX-2925         3/4/2022         3/4/2022     12/10/2021 Inglish Second Supplemental Expert Report –
                                                    Schedule 25, NuVasive Damages Template for
                                                            Various Patent Combinations


PTX-2963         3/3/2022         3/3/2022    Physical Exhibit: Blade Rotation Driver re NuVasive’s XLIF
                                                                   Surgical Technique


PTX-2966         3/4/2022                      Blake Inglish, CPA, ABV, CFE, CFF – Curriculum Vitae
PTX-2967         3/1/2022         3/1/2022                   NuVasive Corporate Overview
PTX-2968         3/3/2022                     Defendants’ Supplemental Responses to Plaintiff NuVasive,
                                             Inc.’s First Set of Interrogatories (Nos. 1-3, 6-8, 10)(excerpt),
                                                    dated 6/11/2018 and verification dated 1/14/2020
PTX-2969         3/3/2022         3/3/2022     Physical Exhibit: Transcend Implant (22W, 6H, 45L, 10°)


PTX-2971         3/3/2022         3/3/2022      Physical Exhibit: Battalion Implant (22W, 14H, 55L, 0°)
PTX-2972         3/3/2022         3/3/2022      Physical Exhibit: Battalion Implant (18W, 16H, 55L, 0°)
PTX-2973         3/3/2022         3/3/2022     Physical Exhibit: Battalion Implant (18W, 14H, 55L, 15°)


                                               Page 8 of 9
    Case 3:18-cv-00347-CAB-MDD Document 409 Filed 03/11/22 PageID.34968 Page 9 of 9

                            MINUTES OF THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA

                                                 VS
            Nuvasive, Inc.                                              Alphatec Holdings, Inc.
Case Number:     18cv0347-CAB-MDD              EXHIBIT LIST                         Jury Trial


☒    Plaintiff     ☐         Defendant   ☐     Court

PTX-2974         3/3/2022          3/3/2022      Physical Exhibit: Battalion Implant (22W, 16H, 55L, 15°)
PTX-2975         3/3/2022          3/3/2022            Physical Exhibit: CoRoent XL Implant (8x22x45)
PTX-2976         3/3/2022          3/3/2022         Physical Exhibit: CoRoent XL Implant (16x22x50)
PTX-2977         3/3/2022          3/3/2022         Physical Exhibit: CoRoent XL Implant (14x22x50)
PTX-2978         3/3/2022          3/3/2022         Physical Exhibit: CoRoent XL Implant (12x22x55)
PTX-2979         3/2/2022          3/2/2022         Physical Exhibit: CoRoent XL Implant (16x22x55)
PTX-2980         3/2/2022          3/2/2022                Physical Exhibit: XLIF Instruments Tray
PTX-2981         3/2/2022          3/2/2022      Physical Exhibit: Anterior/Lateral General Instruments I
PTX-2982         3/2/2022          3/2/2022      Physical Exhibit: Anterior/Lateral General Instruments II
PTX-2983         3/2/2022          3/2/2022         Physical Exhibit: MaXcess III Access System Tray
PTX-2984         3/10/2022         3/10/2022               Physical Exhibit: 40 French Chest Tube


PTX-2986         3/3/2022          3/3/2022              Physical Exhibit: MaXcess® IV 4th blade clip


PTX-2988         3/3/2022          3/3/2022                    Physical Exhibit: PLIF Implant




                                                Page 9 of 9
